
PER CURIAM.
This petition seeks belated appeal of a judgment and sentence. Although a timely notice of appeal was originally filed, appellate counsel failed to respond to this court’s order to pay the filing fee or obtain a certificate of indigency. The result was dismissal of the direct appeal. This constitutes ineffective assistance of appellate counsel. McClain v. Moore, 775 So.2d 1003 (Fla. 1st DCA 2001); Wyatt v. State, 697 So.2d 1289 (Fla. 5th DCA 1997).
Accordingly, we grant the petition, reinstate petitioner’s appeal in case number 1D99-2825 and relinquish jurisdiction to the trial court for 30 days to determine whether petitioner is entitled to court appointed counsel in case number 1D99-2825.
Substitute counsel shall have 30 days thereafter within which to ensure transmittal of the record on appeal to this court and 30 days thereafter in which to file the initial brief in case number 1D99-2825.
PETITION GRANTED.
ERVIN, WEBSTER and BENTON, JJ., concur.
